                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                      CIVIL ACTION NO. 5:20-CR-055-KDB-DCK

 UNITED STATES OF AMERICA,                             )
                                                       )
                Plaintiff,                             )
                                                       )
    v.                                                 )       ORDER
                                                       )
 JEREMY MATTHEW MAGNUS,                                )
                                                       )
                Defendant.                             )
                                                       )

         THIS MATTER IS BEFORE THE COURT on Defendant’s “Motion To File Under

Seal” (Document No. 97) filed October 8, 2020. In accordance with the Local Rules, the Court

has considered the Motion to Seal, the public’s interest in access to the affected materials, and

alternatives to sealing. The Court determines that no less restrictive means other than sealing is

sufficient inasmuch as Defendant’s Sentencing Memorandum and Motion for Downward Variance

and/or Departure contains sensitive and private information that is inappropriate for public access.

Having carefully considered the motion and the record, and for good cause, the undersigned will

grant the motion.

         IT IS, THEREFORE, ORDERED that Defendant’s “Motion To File Under Seal”

(Document No. 97) is GRANTED, and Defendant’s Sentencing Memorandum and Motion for

Downward Variance and/or Departure (Document No. 96) is sealed until further Order of this

Court.


                                          Signed: October 19, 2020




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